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                                       (2r2) 323-6e80
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                                                                       September 18,2018



  Via ECF
  Honorable Kiyo A. Matsumoto
  United States District Courthouse
  225 Cadman Plaza East
  Brooklyn, NY 11201

         Re      Villa v. Car Magic Auto Repair, Inc. et al
                 l8-cv-00489-KAM-RML

  Dear Judge Matsumoto

         Plaintiff Fausto Villa ("Villa" or "Plaintiff) and Defendants Car Magic Auto
  Repair, Inc. ("Car Magic"), and Kwan Son ("K. Son") (collectively "Defendants")
  request that Your Honor approve the settlement reached in this matter. A copy of the
  signed settlement agreement is annexed hereto as Exhibit A.

                                          0verview

          Car Magic is an auto shop located in Corona, NY. Kwan Son is the owner of Car
  Magic. Car Magic repairs and paints auto vehicles. From 2013 through January 2018,
  Plaintiff was employed by Defendants at Car Magic. Plaintiff was employed as an auto
  shop worker and Plaintiff s duties involved preparing plastics and painting vehicles.

          There were factual disputes between the parties both as to the amount of
  Plaintiff s unpaid overtime hours, and as to the correct method for calculating the amount
  of overtime wages owed for those hours. Plaintiff asserted that he worked an average of
  17 overtime hours per week, and that his weekly salary was not inclusive of overtime.
  Defendants, however, argued that Plaintiff worked fewer overtime hours per week, and
  that he was paid correctly for all overtime hours worked.

          The amount of potential damages Plaintiff believes he could recover varies. If it
  is found that Plaintiff was paid straight time for all overtime worked, he believes he could
  recover approximately $40,335.56 if successful at trial. This amount includes unpaid
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  overtime wages and notice violations. If it was found that Plaintiffls salary was not
  inclusive of overtime, he could potentially recover approximately $129,000 dollars.

                                             History of Lawsuit

             On January 23, 2018, Plaintiff commenced this action against    Defendants.
  Plaintiff sued for unpaid overtime under the Fair Labor Standards Act ("FLSA") and the
  New York Labor Law ("NYLL"), as well as failure to provide annual wage notices and
  wage statements under the NYLL.

          On April 9, 2018, the parties appeared for their initial case conference before
  Magistrate Judge Robert M. Levy. The parties then exchanged paper discovery. The
  parties met for mediation with Robin H. Gise on July 31, 2018. The mediation was
  successful and the parties signed a memorandum of understanding.

                            Fairness and Reasonableness of the Settlement

          The settlement sum is $45,000 with one-third of the total settlement payable to
  Plaintiff s counsel for their fees and expenses. The settlement agreement provides that
  the settlement amount will be allocated as follows: Plaintiff will receive $30,000 and
  counsel will receive $15,000 (inclusive of fees and expenses). Plaintifls counsel's
  expenses included the cost of half the filing fee; the mediation ($518.75) as well as the
  cost of service on Defendants ($130) for a total of $868.75. Thus, Plaintiff s counsel is
  asking for $579.17 less than if expenses had first been deducted from the entire
  settlement amount.l We respectfully submit that an allocation of less than the traditional
  33 and ll3Yo (inclusive of both fees and expenses) should be approved in this case. Vidal
  v. Eager Corp.,2018 U.S. Dist. LEXIS 42113, at *4-5 (E.D.N.Y. March 13,2018); see
  also Central States Se. & Sw. Areas Health & Welfare Fund v. Merck-Medco Managed
  Care, LLC,50 F.3d 229,239 (2d Cir. 2007); see also Chavarria v. N.Y. Airport Serv.,
  LLC, 87 5 F. Supp.2d 2d 164, I 78 (E.D.N.Y. June 25 , 2012) (awarding fees in the amount
  of one-third of the total settlement); see also Reyes v. Buddha-Bar NYC,2009 U.S. Dist.
  LEXIS 45277, at *14 (S.D.N.Y. May 29,2009) (awarding fees in the amount of 33% of
  the total settlement).

         Under Cheelcs and its progeny, a court should consider the totality of the
  circumstances, including but not limited to the below factors, in determining whether a
  proposed settlement is fair and reasonable:

             (l) the plaintiff s runge of possible recovery; (2) the extent to which 'the
             settlement will enable the parties to avoid anticipated burdens and
             expenses in establishing their respective claims and defenses'; (3) the
             seriousness of the litigation risks faced by the parties; (4) whether 'the


  1   This number was calculated by subtracting the total expenses ($868.75) from the total settlement amount
  of $45,000, yielding a subtotal of $44,131.25. In this scenario, Plaintiff would have received $29,420.83
  (2/3 of $44,131.25), and Plaintiffls counsel would have received the remaining $15,579.17 (1/3 of
  $44,131 .25 plus expenses). Thus, under the proposed settlement agreement Plaintiff s counsel is receiving
  5579.17 less than if they were to receive the traditional 33 and 1/3Vo plus expenses.

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          settlement agreement is the product of arm's-length bargaining between
          experienced counsel'; and (5) the possibility of fraud or collusion.

  Beckert v. Ronirubinov, No. l5 CIV. 1951 (PAE),2015 WL 8773460, at * 1 (S.D.N.Y.
  Dec. 14, 2015) (citing Wolinslry v. Scholastic lnc.,900 F. Supp. 2d332,335 (S.D.N.Y.
  2012)).

          In this case, as a preliminary matter, the "agreement is the product of arm's length
  bargaining between experienced counsel" and involves no "possibility of fraud or
  collusion." Id. As for the range of recovery, Plaintiff will receive approximately the
  amount he would have received if his unpaid overtime were calculated at 17 hours of
  unpaid overtime owed per week, assuming that he was paid straight time (as argued by
  Defendants). Since Defendants argue that Plaintiff worked fewer than 17 hours of
  overtime per week, Plaintiff could have recovered less than he will receive under the
  settlement. In contrast, if the Court had found that Plaintiff s unpaid overtime should
  have been calculated assuming that he was paid nothing for overtime rather than paid at
  straight time for overtime, Plaintiffs recovery could have been far higher than the
  settlement amount. Thus, this settlement is a reasonable compromise.

          This settlement enables the parties to "avoid both the anticipated burdens and
  expenses in establishing their respective claims and defenses." Id. Since the
  commencement of this lawsuit, Plaintiff has been unable to find new employment.
  Further litigation, which would include deposition preparation, depositions, and trial,
  would require Plaintiff to miss valuable time that he is spending searching for a new
  position. Plaintiff is eager to be made whole, which he will achieve through this
  settlement. Furthermore, this settlement will spare Defendants additional legal fees and
  expenses, prevent the further accrual of Plaintiff s attorneys' fees, and relieve Defendants
  of the burden of further defending a federal court action.

           Both sides faced litigation risks by continuing this litigation. Plaintiff possesses
  limited proof of the hours he worked. Although Plaintiff s testimony is sufficient, the
  fact finder is not bound by that recollection and could find that Plaintiff worked fewer
  hours than he alleges. See Doo Nam Yang v. ACBL Corp., 427 F.Supp.Zd 327, 335
  (S.D.N.Y. 2005) (ooBecause defendants here did not produce admissible records of the
  hours plaintiff worked, plaintiff must produce sufficient evidence to show the hours he
  worked as a matter of just and reasonable inference. Furthermore, it is possible for
  plaintiff to meet this burden by relying on his recollection alone. . .") (internal quotations
  and citations omitted). By litigating this matter at trial, Defendants risked that a trier of
  fact would award Plaintiff s overtime pay assuming that he had not been paid at all for
  his overtime hours, as well as liquidated damages, damages under Sections 195(1) and
  195(3) of the NYLL, substantial attorneys' fees, and prejudgment interest. Furthermore,
  even with a favorable outcome at trial, Plaintiff would still be faced with the possibility
  of an empty judgment. The agreed upon settlement allows each side to avoid these risks
  while also making Plaintiff whole.




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                          Work Performed bv Plaintiffs Counsel

          While the case settled prior to depositions, PlaintifPs counsel performed critical
  work. Plaintiffs counsel met with Plaintiff and diligently researched the corporate
  Defendants' business, as well as the overall strength of Plaintiff s claims. In addition,
  Plaintiffs counsel drafted and served document requests and interrogatories, reviewed
  Defendants' responses, and responded to Defendants' document requests and
  interrogatories. Plaintiffs counsel drafted damages spreadsheets setting forth the
  avenues of potential recovery. Notices regarding conditional certification were prepared
  but ultimately not needed because the parties reached a settlement.

          Finally, the payment schedule was included in the settlement agreement due to
  Plaintiff s concerns over the ability to collect payment from Defendants, as Defendants
  have informed Plaintiffs that they could not withstand a $45,000 lump sum payment. The
  inclusion of the payment schedule also weighs in favor of approving the settlement. See,
  e.g., Riverav. Relay Delivery,lnc., No. 17-cv-05012,2018 WL 1989618, at *1 (S.D.N.Y.
   Apr.26,2018) ("Moreover, plaintiffs in this case have expressed serious concerns about
  collectability and have agreed to a payment schedule, which 'militates in favor of finding
  a settlement reasonable."') (quoting Lliguichuzhca v. Cinema 60, LLC,948 F. Supp. 2d
  362,365 (S.D.N.Y. 2013); citing Hart v. RCI Hosp. Holdings, Inc.,09-cv-03043,2015
  WL 5577713 , at * 1 0 (S.D.N.Y. Sept. 22, 2015) (significant "risk that plaintiffs would not
  be able to collect, or fully collect, on a judgment" supported approval of settlement
  agreement)); Isidro v. Ala Turk, Inc., No. 17-cv-05943,2018 U.S. Dist. LEXIS 90224, at
  *1-2 (S.D.N.Y. May 29,2018) (same); Zonav. Canandaigua Pub,1nc., No. 15-cv-06213,
  2016 U.S. Dist. LEXIS 98173, at *4 (W.D.N.Y. July 26,2016) "[E]ven if Plaintiffs were
  to obtain a greater judgment, it is not likely that Defendants financial condition would
  permit them to collect on it. The proposed settlement is funded with a structured payment
  schedule which will more likely guarantee payment to Plaintiffs. This factor weighs in
  favor of approval of the proposed settlement."

                       Attorneys' Fees and Counsel's Qualifications

         Courts regularly approve attorneys' fees of one-third of the settlement amount in
  non-class FLSA cases. See Karic v. Major Automotive Companies, Inc., 2016 WL
  1745037 at *8 (E.D.N.Y. Apr. 27,2016) (citing cases).

         Plaintiffs retainer agreement with the undersigned counsel provides for a
  contingency fee of one-third of any settlement reached, exclusive of costs and
  disbursements. Here, Plaintiffs counsel seeks less then the 1/3 of the recovery after
  expenses. Plaintiff s counsel would be within his rights to seek $15,579.17 but instead is
  only seeking $1 5,000.00.

          Jacob Aronauer is the managing partner of The Law Offices of Jacob Aronauer.
  Mr. Aronauer has been practicing law since 2005 and started his own firm in 2013. Since
  he started his own law firm, Mr. Aronauer's practice has primarily focused on wage and
  hour law. Mr. Aronauer has handled close to 100 wage and hour matters. In 2018, Mr.
  Aronauer was voted a "Rising Star" in the New York area by Super Lawyers. Mr.
  Aronauer's hourly rate is $350 an hour. This hourly rate is what Mr. Aronauer charges

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  his management-side clients. Paralegals in this case employed by Mr. Aronauer's firm
  charged $150 per hour.2

                                                  Conclusion

         Court approval of an FLSA settlement is appropriate
                                                               ohhen
                                                                      [the settlement] [is]
  reached as a result of contested litigation to resolve bona fide disputes." Johnson v.
  Brennan, No. l0-cv-471,2011 WL 4357376, at*12 (S.D.N.Y. Sept. 16, 20lI). "If the
  proposed settlement reflects a reasonable compromise over contested issues, the court
  should approve the settlement." Id. (citing Lynn's Food Stores, Inc. v. United States,
  679,F.2d 1350, 1353 n. 8 (l lth Cir. 1982).

          Given the conflicting evidence, the quality of the evidence and counsel and the
  allocation of the burden of proof on Plaintiff, the settlement represents a reasonable
  compromise with respect to contested issues. We jointly request the settlement
  agreement's approval. See Reyes v. Altamarea Group, LLC, l0-cv-645I (RLE), 2011
  WL 4599822 at*6 (S.D.N.Y. Aug. 16, 20ll) (Ellis, M.J.).


                                                       Respectfully submitted,


                                                       Jacob Aronauer
                                                       Attorney for Plaintiff

  cc: Via ECF
       All attorneys on record




  z Plaintiff s counsel will provide time records and expenses ex parte for in camera review at the Court's
  request, if considered necessary.

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                          EXHIBIT A
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

FAUSTO VILLA,

                               Plaintiff,                                I 8-cv-00489   (KAM) (RML)

               -against-
                                                                         SBTTLEMENT
                                                                         AGAEEMBNT
CAR MAGIC AUTO REPAIR,
and KWAN SON and
JANE SON, individually,

                               Defendants




       WIIEREAS, Plaintiff Fausto Villa (hereinafter "Villa" or "Plaintiff) has initiated this

action against Defendants Car Magio Auto Repair, Inc. (hereinafter'oCsr Magic'), Kwan Son

and Jane Son, pursuant to the Fair Labor Standards Act        of   1938 and New   York State Labor Law

alleging, inter alia, violations of overtime laws while Plaintiff was employed as an auto shop

worker at an auto shop owned by Defendant Kwan Son;

       WIIEREAS' Defendant Kwan Son and Defendant Car Magic (collectively, the "Car

Magtc Defendants") have denied the allegations made against them in this action;

       WIIERS,AS, Plaintiff and the Car Magic Defendants have determined that it is in their

mutual interests to settle all claims betweon them           in order to avoid the expenso,       burden,

dishaction and uncertainty of further litigation; and

       WHEREAS, Plaintiff and the Car Magic Defendants have agreed to settle all matters

between them regarding the claims described above pursuant to the terms of this Settlement

Agreement (hereinafter the "Settlement Agreemenf        ),
NOW, THEREFORE, PlaintiffVilla and the Car Magic Defendants hereby agree                  as   follows:
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       1.        Payment Terms. Defendants Car Magic and Kwan Son shall pay the sum of

Forty Five Thousand Dollars and Zero Cents ($45,000.00) as follows:

                            a) Plaintiff shall receive    $2,000 a month and PlaintifPs
                                 counscl shall rcceive $1,000 a month, fbr a total of fifteen
                                 months.

                            b) Plaintiff will be paid via            1099. and.   the Car lvlagic
                                 Defendants      will not make any tax withholdings             on
                                 payments to Plaintiff.

                            c)   The initial payment shall be made no later than 30 days
                                 after Court approval of the settlement agreement.

                            d) All further        payments shall      be made every 30        days
                                 thereafter.

                            e) The Car Magic    Defendants shall send all payments to Law
                                 Offices of Jacob Aronauer, 225 Broadway, 3td Floor,          New        r
                                 York, NY 10007.

            2.   Default   Provision.     In the event of a failure to make any payment as provided

for in paragraph 1 above, Plaintiffs attorneys shall give notice via email to                 Defendants'

attorneys, The Law Offices of Diane H. Lee, 2460 Lemoine Ave., Suite              i05, Fort Lee, NJ 07024,

of said default. E-mail sent to Diane Lee at dlee@dhllaw.com constitutes sufficient notice. The

Car Magic Defendants shall thereafter have ten (10) days fiorn the receipt of said written notice

to cure said default. In the event that the Car Magic Defendants do not cure said default by that

tirne, Plaintiffs attorneys shall be entitled to enter a judgment by Affidavit of Confession of

Judgment, annexed hereto as Exhibit B, or otherwise, without firther notice to the Car Magic

Defendants in the United States District Court, Eastern District of New York, for 1.5 times the

full   Settlement Sum ($67,500), less any partial payment(s) made, and shall have immediate

execution therefore. Plaintiff s counsel       will   also be permitted to rcceive reasonable attorney fees

to enforce this judgment. The Car Magic Defendants will provide PlaintifPs counsel with                  a



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signed Confession of Judgrnent in the form annexed hereto. Plaintiffs counsel           will hold    the

original and any copies fhereof in escrow pending either    (l) a default in the payment provisions
of this Settlement Agreement and the expiration of ten days from the date of written notice

thereof, or (2) the receipt of final payment due under the terms of this Stipuiation, at which time

Plaintiff s counsel shall destroy the original and any copies of the Confession of Judgment, ffid,

within thirty days of receipt of final payment, shall forward an affrrmation to the Car Magic

Defendants' attorney stating that the Car Magic Defendants have fully satisfied the conditions        of
the Settlement Agreement and that the original Confession of Judgment and any copies thereof

have been destroyed.

         3.     $tipulation of Discontinuance and General Release. Upon receipt                      and

clearance of all payments due under the Settlernent Agreement,    Plaintiffs   attorneys, within   thirty

days   of receipt of said final payment, shall forward to the Car Magic Defendants' counsel (1)        a

fully-executed Stipulation Discontinuing this Action with Prejudice and (2) a General Release

executed by Plaintiff Villa in favor of the Car Magic Defendants. A copy of this Stipulation is

annexed hereto as Exhibit A to the Settlement Agreement.

         4.     No Admissions. It is hereby understood that the payments cailed for in this

Stipulation and the Stipulation itself are not an admission by the Car Magic Defendants               of
liability or responsibility for any of the claims referenced in this Stipulation, which liability and

responsibility are hereby expressly denied, but are made for purposes of avoiding the costs

and/or risks of litigation.

         5.     Attorneys' Fees. Except as otherwise stated in paragraph 2, the parties agree to

bear their own attomeys' fees, costs and disbursements incurred in this    litigation. Except to the

extent provided for in this Settlement Agreement, no parfy shall be responsible or liable for



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payment    of any attorneys' fees for the other ?^rty, uuless one of the parties is required to
judicially enforce any term of this Settlernent Agreement, in which    case the prevailing parfy shall

be entitled to reasonable attomeys' fees to be paid by the opposite party.

          6.   Tax Responsibilities. Plaintiff shall be solely responsible for the payment of any

taxes owed on the paynents made under this Settlement Agreement. Plaintiff represents that no

tax advice has been glven to hiru by the Car Magic Defendants or their representatives and

understands that the Car Magic Defendants make no representation or guarantee as to the tax

consequences of the payments made under this Stipulation. Plaintiffhereby agrees to        indemni$

andlor hold hannless defendants in connection with any tax liabilities and/or interest, penalties or

costs that may be inourre.d by   Plaintifffor failure to properly report the payrnents made under the

Settlement Agreement.

          7,   Careful Review of Stipulation. Plaintiff and the Car Magic Defendants

represent that each has carefully read this Settlement Agreement, and understands its terms and

conditions without reservation. Plaintiff and the Car Magic Defendants acknowledge that each

has had ample opportunity to consult with logal counsel of their choice regarding this Stipulation

and has not relied on any representations or statements of the other party or the other party's

counsel with respect to the subject matter of this Stipulation.

          8.   Scverability. If any portion or portions of this Settlement Agreement rnay be

held by a court of competent jurisdiction to conflict with any federal, state or local law, and as a

result such portion or portions are declared to be invalid and of no force or effect in such

jurisdiction, all remaining provisions of this Settlement Agreement shall otherwise remain in full

force and effect and be construed as     if   such invalid portion or portions had not been included

herein.



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        9,       Counterparts. This Stipulation may be signed in several counterparts, but all

when taken together shall constitute but a single document when executed by all parties to this

Settlement Agreement. This Settlernent Agreement shall not constitute the agreement of the

parties until such tinre as it has been executed by all parties. A fax or emailed signature shall be

deemed an original.

        10.      Entire Agreement Each party acknowledges and agrees that no representations

or promises have been made to or relied upon by any of them or by any person acting for or on

their behalf in sonnection with the subject matter of this Settlernent Agreement which are not

specifically set forth herein.   All prior representations   and promises made by any party to

another, whether     in writing or orally, are understood by the parties to be merged in this
Settlement Agreement.

        ll.      Binding Effect This Settlement Agreement shall be bindingupon and shall inure

to the benefit of the parties, their respective heirs, beneficiaries, personal representatives,
successors, and assigns.

        12.      Amendments' This Settlement Agreement and all documents and instruments

executed   in   connection herewith or   in furtherance hereof may not be amended, modified or
supplemented except by an instrument in writing signed by all parties hereto.

        13.      Further Assurances. Each party agrees to execute such further and additional

documents, instruments and writings a$ may be necessary, proper, required, desirable or

convenient for the purpose of fully effeotuating the tenns and provisions of this Stipulation.

       14.       Governing   Law. This s Settlement   Agreement hall be govemed by the laws      of
the State ofNew York.




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    TJMIED STATES DI$TRICT COURT
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